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A big advantage to a Community Corrections Center (CCC) is the cost to
build and operate one, compared with a jail. By definition, a CCC is a
minimum security facility that has dormitory style housing.

It is estimated that building costs for a CCC are one-third less than those of
a jail. '° Moreover, the operating costs are less: In Washington County,
Oregon the per-day cost of operating the CCC is, at $55 per day, half of
the per-day jail cost of $109.46. "

Other County Community Corrections Centers

The Community Corrections Center model is not as wide-spread as Re-
entry facilities/ Half-way houses for prisoners. But where they do
operate, they present a major management tool for local counties
attempting to stretch the limited and expensive jail resource.

Counties with a CCC include:

VV VW VV WY

Clackamas County, Oregon
Clatsop County, Oregon

Lane County, Oregon
Washington County, Oregon
Hampden County, Massachusetts
Suffolk County, Massachusetts
Davidson County, Tennessee
Orange County, Florida

Issues to Address in Planning a CCC

There are many policies and procedures to address in planning a
Community Corrections Center. Some of these include:

Eligibility / Ineligible

screening procedures

Range of Populations served (State prisoners, parolees, pre-
trial, etc.)

Required Time in Jail prior to consideration (if any waiting
period)

Length of Stay remaining on sentence to be considered
Type of Programs to offer

Job search requirements (number of days to find work, type
of work and number of hours required to work)

' Estimate given by Rosser International. 9-19-07.
‘6 The Washington County CCC per day rate for the smail number of residents involved in the in-house
residential treatment, ts 5371 per day. (John Harner, Community Corrections Director, Sept. 2007}

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Urinalysis Testing and monitoring

Return to Jail, and other Sanctions for non-compliance
In Facility discipline

Step-down policies and options from CCC
Health Care

Award of Good Time and Work Credits
Program administration

Fees and collection of restitution
Information sharing between agencies
Data collection

Program evaluation

» Establish ‘Tracks’ out of Jail based on Risk and Need

A quick assessment of offender risk can guide the level of supervision and
treatment received. Just as the Probation Department will be adopting a
new, objective risk tool to allocate supervision resources, so too can the
step-down from jail be guided by risk levels.

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IV. Alternative to Jail Programs

Sonoma County’s commitment to treatment and alternative to jail
programs is evident in the strong continuum of programs in place. And,
these programs are supported by a group of dedicated professionals who,
at all levels of this system, are interested in making a difference.

The fact that Sonoma County has many of the building blocks of a strong
system puts it ahead of many other jurisdictions. This strong foundation
can be seen in the continuum it has put in place over the years:

+

+
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Pre-file and post-file diversion programs
In-jail substance abuse treatment

A long-standing Drug Court

TASC assessment and case management
Specialized probation caseloads

FACT team

Jail discharge planning

A range of community-based treatment

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Moreover, its programs stand out for having staff with many years
experience and a true interest in moving offenders toward change.
Features such as the use of positive rewards, innovative program
offerings, and lifetime aftercare are commendable. Some programs are
tackling hard to address issues, such a female trauma.

Given this foundation, Sonoma County is now ina position to ask: How
might we optimize these resources? The answer lies in three general
approaches:

s Improved Front-End Services: Pre-Trial Services

s Expedited Case Processing

» Extend the Continuum: A Community Corrections Facility
# Strengthen Existing Services

® Create Centralized Intake Services

“Sometimes the quiet ones fall through the cracks.” (Discharge Planner on task of
identifying inmates who need service)

Pre-Trial screening, with its emphasis on risk, should be supported by an
assessment of offender ‘need’ (criminal risk factors) as well. This is done
by creating a Centralized Intake unit that can quickly provide varying
levels of substance abuse and mental health screening and assessment.
While these reviews now occur at various places in the system, there is

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neither a systematic nor universal approach. A Centralized Intake Unit
would provide this.

Provide universal front-end screening

Sonoma County is fortunate to have a Treatment Alternative to Street
Crime (TASC) program, with staff dedicated to assessment, client
advocacy, and case management. Their assessments, conducted for the
most part in the jail, are most often initiated by inmate request. In the
proposed model, this entryway into treatment would be replaced by a
more unified approach. [t would join the various efforts of Pre-Trial
Services, TASC, and Mental Health staff to provide better up-front case
review, and more substantive information to judges to inform the setting
of conditions, as well as diversion and sentencing decisions.

Building universal risk and need screening into the front end will also
improve assessment efficiency. Under the proposed model, Pre-Trial
screening and judicial orders become the driver of further assessments,
which can reduce time spent with dead-end cases (don’t know case has
‘out of county’ status, for example). Under the current system of inmate
initiated requests, TASC reviews many cases that do not result in
acceptance.

TASC Screening & Referral Statistics
(March 2007)

Number Screened 156

Number Accepted 53 (34%)
Number Not Accepted 103(66%)}

As can be seen, 66% of the cases screened were not eventually referred for
treatment. Front-end screening as part of a Pre-Trial program should
fine-tune this process.

Shift to System-Directed Assessments

Most TASC assessments are conducted in-custody. And, for the most
part, an assessment is initiated by an inmate request.

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TASC Assessment: Referral Source

Self 64%
Court 20
Probation 9
Defense 4
Other 3
Total 100%

TASC also provides assessments on a walk-in basis in the community.
Here the percentage of self-referrals is even higher (75%). And, over half
the walk-in cases are rejected for treatment entry.

Of those defendants who were assessed by TASC, 57% were on pre-trial status,
38% were violation of probation cases, and 5% were sentenced. (TASC data)

Some of the self-requests for treatment are persons following through on
referrals, but most are requesting an assessment in an effort to improve
their legal outcome, or because they want to advantage of treatment.

The problem with a system that is inmate driven is that it takes the reins
out of the hands of the system. This results in system inefficiency when
TASC must review cases that have not been pre-screened and do not, in
many instarices, meet basic eligibility criteria Gmmate is on an out of

custody hold, for example). Other persons who might qualify simply fall
through the cracks and are not considered.

A more standardized up-front screening will help praduce a more
efficient and productive process.

Reassess the Role of Motivation in Client Selection

“This program saved my life. But when I started I didn’t want to be here. I
didi’t believe that anything could change. But the man you see today is not the
same man who started this program.” (Graduate of local treatment program)

A self-referral system would seem to be a natural way of targeting those
who are motivated to change. And, certainly, ultimate success in any
program depends upon a person having the desire for a better future. The
published studies on the relationship between motivation and outcome
are often incomplete: not speaking to the issue of how, not only to
measure motivation, but how to foster it.

We know that coerced treatment has been proven to be as effective as
voluntary treatment. Using the coercive power of the courts has been

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shown to be an effective tool in encouraging treatment entry, retaining
clients, and graduating higher numbers (drug court is one example).

The key question is not: ‘Is the person motivated’; but ‘How do we
motivate them?’

“I have found that clients who entered treatment and didn’t want to be here did as
well as those who volunteered.” (Local Residential Treatment Program Staff)

Motivating clients is an art, but a basic one for all criminal justice
professionals. Probation and Parole departments nationwide are sending
staff to trainings to teach them ‘motivational interviewing’ — the common
principles of respectful communication, good listening, positive guidance,
and guided goal setting. To see this in action one need only watch Judge
Boyd and other Drug Court judges.

Trainings such as this can be helpful to both new and experienced staff.
We also encourage jail staff and others to take advantage of these
trainings. Communication is the most fundamental and one of the most
overlooked aspects of this work.

Integrate Risk Information into Treatment Planning

The joining of risk and offender ‘need’ information (criminal risk factors
such as substance abuse and mental health needs) provides a framework
for targeting scarce resources.

The allocation of resources becomes an important decision: who should be
prioritized for the most intensive and expensive resources? Ideally, the
most intensive resources should be reserved for those with a high risk for
recidivism (or for those who are having a significant impact on the system
because of repeat bookings).

As with the pre-trial assessment of risk, the determination of post-trial risk
should be guided by objective and validated risk instruments.

Given that the Sonoma County Probation Department will soon be
adopting a new risk tool, this is a good time to be talking about how to
apply this information. The quantification of risk should provide a
starting point for resource allocation. Lower risk offenders can be
targeted for diversion or less intensive treatment. Higher risk offenders,
in comparison, are the group on which a county would want to focus its
most intensive and expensive treatment. Research has shown that the
greatest returns are achieved when the most intensive services are
reserved for the highest risk offenders.

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Although no risk tool is ever a complete substitute for professional
judgment, it provides an objective guide for decision-making.

Develop a Common Case Plan

The new risk tool that Sonoma County Probation will adopt will not only
produce a risk score, but will identify individual risk factors associated
with recidivism. This is used to shape the supervision plan. But most
offenders are also in treatment. The goal should be to develop a common
supervision and treatment plan that outlines offender goals related to
individual risk factors. In this way treatment and supervision staff can
reinforce and compliment each others efforts.

Probation Officers and Treatment providers both expressed an interest in
improved communication.

At this time the probation officer has sporadic input into the treatment
plan and is not routinely consulted when making modifications (this
varies based on caseload type and the relationships that have been
established with TASC and other providers).

A core plan with shared goals and expectations, can help keep everyone
‘on the same page’ — literally. In this way, both parties can reinforce
progress in meeting short-term goals and speak with one voice when it
comes to rewards and sanctions.

Vv

Enhance Existing Treatment Options

The majority of Sonoma County Probation Officers with Intensive caseloads who
were surveyed reported that treatinent always, or alinost always, available.
(Probation Officer survey)

Probation Officers and treatment providers list the following as needed
services.

Local Treatment Needs
(According to Probation Officer & Providers)

« Vocational Training & Employment Services

« Medication for Low Income

s Drug-Free Housing

" More Intensive Outpatient, and Longer than 31 Day Treatment

« Treatment for those Not Yet in Criminal Justice System

* Dual-Diagnosis Treatment and Specialized Expertise in Programs

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* Coordinated Funding for Support Services: Childcare, Transport,
Housing, etc. And, program funds for support (bus fare, etc.)
« Residential Treatment for Sex Offenders, Spanish, Mentally I]

Barriers to treatment and services for offenders that were noted include: funds for
treatment, denial for lack of motivation, transportation, and charge. (Probation

Officer survey)

Make More Intensive Outpatient Treatment Available

Sonoma County has an array of treatment programs that is richer in
offerings than many counties. It has also invested considerable resources
in residential treatment. This is not unexpected, given the severity of the
drugs in use (methamphetamine) and the availability, through SACPA

and Drug Court of a good base of outpatient services.

Sonoma County
AODS Treatment Snapshot"’
(Feb. 6, 2007)

TASC 144 (40%)
SACPA ee (38%)
Drug Court 58 (16%)
Starting Point 22 (6%)
Total: 362

Note: TASC is primarily residential (64%) treatment; SACPA is primarily outpatient
(88%); Drug Court is primarily outpatient (86%); and Starting Point is the in-custody

substance abuse program.

Both ends of the spectrum of treatment intensity are available: From 1-2
group sessions per week (conventional outpatient), to 26 group sessions

per week (Starting Point).

'? This break-out represents AODS programs coded as ‘law enforcement’ related programs. It does not
include out-of-county programs, sometimes accessed, or the broader pool of community, fee-based

services.

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Sonoma County
AODS Snapshot: Residential vs. Outpatient
(Feb. 6, 2007)

Residential 135 (37%)
Outpatient 227 = (63%)
Total 362 (100%)

Note: Snapshot data reflects the number of criminal justice clients in programs on this
day, not program capacity. In-custody participants are included in residential count in
this break-out; drug court participant in the outpatient.

Although Intensive Outpatient services make up the majority of treatment
resources, these slots are largely dedicated to SACPA and Drug Court
clients, ostensibly targeting lower risk populations. The fact that SACPA
clients are not supposed to be mixed with other clients represents another

complication.
sonoma County Outpatient Slots
(By Criminal Justice Population Admitted)
(N=227)

SACPA 63%

Drug Court 19

Other 18

Total: 100%

As can be seen in the data above, the bulk of outpatient resource is serving
a specific criminal justice clientele (SACPA and Drug Court). And, for
undedicated outpatient slots, it is estimated that 98% of outpatient
treatment serves those who transition from residential treatment.

There is no good mechanism for direct placement into intensive outpatient
from the jail, and there is no formal provision for moving offenders from
outpatient to residential treatment.

One residential treatment provider estimated that 15-30% of clients might be
appropriate for intensive outpatient services.

TASC, which bases its assessments from the Jail, makes the vast majority
of their referrals to residential treatment.

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TASC Referrals by Type
(Feb. 2006 to Feb. 2007)
Residential 91%
Outpatient 7
Other 2
Total: 100%

(N= 615. Reflects all referrals for which referral type noted)

OF those referred to residential treatment, almost half (47%), are sent to
the Turning Point program.

TASC Referrals: By Residential Program
(Feb. 2006 to Feb. 2007)

Turning Point 47%
Athena 14
Orenda Center 12
Latino Commission 11
Out of County 6
Other 10
Total 100%

(N= 560. Reflects ail referrals for which residential type noted)

The pathway to residential treatment from TASC is through the Sonoma
County Jail. This has actually resulted in cases in which offenders, once
released from custody, must return to Jail in order to access residential
treatment. It was explained that this is a result of County policy that
dictates that residential treatment funds be used only to depopulate the
jail, preventing direct community access to these services. But, the
unintended consequence is that offenders must at times return to Jail to
gain access to residential services. This needs review.

Half of local outpatient treatment providers estimated that a small percentage of
their clients would benefit from more intensive treatment.

An expanded option of intensive outpatient should be available to help
stretch the treatment continuum. Some inmates who exit Starting Point
may, after a month or more in treatment, no longer need residential
treatment (as originally assessed) but could thrive in a less intensive
program.

It is estimated that 30-40% of inmates in the in-custody Starting Point program
have jobs in the community. (Program staff)

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To the extent that intensive outpatient can be used, it helps inmates who
are employed to retain their jobs. For those who need the additional
stability offered by residential placement, an option that provides
Intensive Outpatient and short-term clean and sober housing can be
explored.

As a step-down from Jail, Intensive Outpatient services should also be
provided in the Community Corrections Center.

sonoma County AODS Expenditures
(Fiscal Year 05-06)

Detox 13%
Residential 51%
Outpatient 11%
Drug Court 8%
SACPA 0

TASC 17%
Total: $4,567,260

County funds make up half (50%) of total AODS program revenue in
Sonoma County that totals more than $9 million.

Sonoma County AODS Revenue Sources

($9.7million)
County 50%
State 28
Federal 18
Fees 3
Other 1
Total 100%

In the 1970's, Sonoma County had a base of treatment that was primarily
Intensive Outpatient. With the increase of methamphetamine use the
offender profile has become more complex, but there is still the need to
actively use the least restrictive / and less expensive option where possible.

Sonoma County has, in its prenatal program, a good example of an
intensive outpatient program. Clients attend sessions five days per week

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for at least 3 hours per day. More intensive outpatient, coupled with
stable housing, would be an important addition to the continuum.

Address Treatment Access for Violent Offenders

The greatest gap in treatment, noted by Probation Officers with intensive
caseloads, was for offenders with violent charges or a history of violence.

Although outpatient treatment providers in Sonoma County generally
indicated they would consider offenders with violence, on a case-by-case
basis, residential treatment programs are in a more difficult position.
Given the mixed populations of residential programs, a violent charge can
be incompatible. However, the need does not disappear and, as is often
the case in criminal justice treatment systems, those who pose the greatest
public safety threat are often the least able to access care.

More Jail Treatment for Higher Risk Cases

Probation Officers indicated a need for more treatment in Jail for higher risk
offenders. (Probation survey)

Providing treatment in jail presents unique challenges. Jail classification
barriers may prevent some inmates from participating in the Starting
Point program. This can be addressed by considering how treatment
might be brought to this group in the more secure parts of the jail.
Probation Officers indicated a desire for more treatment for this group.

Residential Treatment for Sex Offenders

Probation Officers noted that the majority of sex offenders who were
indicated as needing treatment appeared to be accessing treatment, albeit
usually on an outpatient basis. The need for more intensive treatment,
both in the community and in Jail, was brought to our attention by the
Officers. The issue here is how to make residential treatment available
where clinically indicated.

In a review of TASC reason’s for rejection, Violence was the most common reason
a4 person was denied entry into treatment. (TASC data)

One month worth of data was collected to examine the reasons that
persons assessed by TASC were turned down for residential treatment.

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TASC Reason for Rejection

Violence 38%
Out of County* 27
Owe Money 12
Psychological Issues 9
Other 14
Total 100%

* Includes Non-Resident and ICE status.

A look at the kind of violent charges highlights the challenges posed to
TASC and the system in accommodating this population. Rejections
include offenders charged with: Armed Robbery, Gang involvement,
Assault with Weapon, Arson, Firearm possession, child endangerment,
and misdemeanor battery.

Review TASC Appeal Process

Probation Officers with Domestic Violence Caseloads reported that, on average,
only 50% of those in need of substance abuse treatment were accessing tt.
(Probation survey)

Although TASC assesses domestic violence cases for treatment need,
many of these cases are initially denied because of the violent charge. The
offender may then appeal the denial and the case is again considered for
acceptance. If the offense involved a weapon there is no access to
treatment. Of course, these are the very cases that most need attention.

It was estimated that of those offenders on the Gang Supervision caseload, only
lof 10 persons who needed substance abuse treatment were accessing it.
(Probation survey)

Programs for Gang Members
Although a smaller percentage of offenders on Gang supervision were

noted to be in need of substance abuse treatment (10%) by the Probation
Officer who supervises this caseload, this group represents a substantial
public safety threat, and every effort should be made to link them to
treatment, when needed.

In the Sonoma County case processing study, 10% of defendants with
misdemeanor charges, and 19% with felony charges had a gang affiliation.

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Level of Gang Affiliation

Misdemeanor Felowy
Affiliated 5% 5%
Associate 39 42
Drop-Out 6 6
Member 50 47

Continue to Address Issue of Rural Access to Treatment

It is estimated that 15 to 25% of treatment program clients reside outside of Santa
Rosa. (Treatinent providers)

The provision of services to residents in the more rural areas is an on-
going challenge. Some DUI treatment has been made available, but for
the most part person in need of treatment need to come into Santa Rosa.
With transportation issues to contend with, this presents a real challenge
to many clients.

Attempts have been made to bring treatment out to ‘The River,’ but the
lower number of clients in this rural area has not made it cost effective.
Creative solutions should continue to be explored, including mobile
treatment vans, video conferencing, etc.

» Expand Drug Court

“Drig Court has been a profoundly positive experience for the system, It
changed the thinking about treatment and created a common language.” (Sonoma
County Treatment staff)

The Sonoma County Drug Court is doing a good job providing a solid
base of services. This is a mature Drug Court, in operation for more than
10 years. It has been the beneficiary of strong judicial commitment and an
energetic program coordinator. The program has a good core program
presented in phases, and is exceptional in offering on-going access to
services to graduates — consistent with a chronic care model.

The fact that a single judge handles both the Drug Court and the SACPA
Court is also a bonus. By tracking both populations the judge is able to
seamlessly move SACPA cases to Drug Court at the point of repeat
failure, but short of termination.

The Program has developed a good array of programs: noteworthy is the
volunteer literacy counselor (offered by a retired DA), family and
relationship counseling, and a 6-week anger management curriculum.

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The Program has also been accommodating more serious cases: They have
accepted gang members, who are reported as doing well; has no limit on
drug charges; and reviews drug sales offenses on a case-by-case basis.

For program graduates, the average length of stay is approximately 12
months.

At the end of June, 13% of Drug Court clients were SACPA participants.

The program also does a good job of accessing a range of treatment
resources. The Drug Court Coordinator can place participants into
residential treatment, usually at initial assessment into the Drug Court.

Af the end of June, 10% of Drug Court participants were in residential treatment.

Residential treatment is used judiciously, but those who are placed will
remain there for 6 months. At this time, all those in residential treatment
were females (usually it is mix of males and females), and placed at either
Athena House or Turning Point.

Having access to residential has worked well. Clients still attend monthly
court sessions, and consideration is given to reducing the overall length of
Drug Court participation for those who successfully complete the 6 month
period.

The program sees a positive difference for clients who first attend Starting Point.

The program coordinator notes that she observes a positive difference in
those clients who take advantage of the in-custody Starting Point program
while waiting program entry.

Establish Non-Attorney Staff Positions for Drug Court

The essential work of screening defendants and tracking them into Drug
Court is time consuming and requires a specialized skill base. For these
reasons we recommend that the District Attorney Office and the Office of
Public Defender each have a non-attorney position dedicated to this work.
In our experience, drugs courts which have this in place increase numbers
served and improve time to program entry. Overall program efficiency
and effectiveness is served.

Non-attorney staff support positions soon become indispensable. And,
their involvement with the case need not end with screening. Support

staff knowledge of the defendant's progress serves to support attorney
recommendations.

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